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                                                                                    K




棕榈滩公馆
棕榈滩岛上最后一座批准的酒店
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棕榈滩-美国东海岸的奢华之地

1. 2011年彭博社评其为美国最富裕的地区;
2. 3万人口，都是富人、退休富人及其佣人;
3. 27个10亿级富豪的住所;
4. 美国东海岸富人家庭的居住和度假去处，强大的豪宅及豪华酒店需求。




                                       棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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奢华极致--棕榈滩全景




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奢华极致--棕榈滩全景




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棕榈滩公馆的位置--金融街中心




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豪宅环绕的棕榈滩公馆




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豪宅环绕的棕榈滩公馆




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棕榈滩上多位全球顶级富豪




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棕榈滩上多位全球顶级富豪




$5200万 Howard Stern电台主播                 1236 Ocean Blvd              Donald Trump's Mansion $9500万
                                      $8150万 前高盛合伙人




                                                 150 South Ocean Blvd，$2600万
                                                 David Koch of Koch Industries
                                                 (美国第二大私人企业，2012年福布斯第17位富豪)




                                          棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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棕榈滩公馆




                                项目介绍




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棕榈滩公馆 项目介绍

 128000平方英尺；
 79个单位的共管式奢华会所酒店；
 坐落于棕榈滩岛上；
 顶级富豪私密会所；
 世界级富豪和名人的家；
工程完成85%，施工在稳步进行；
 岛上最后一个被批准修建的酒店。




                                       棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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开发商 Robert Matthews




                                         棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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1993年美国年度企业家 知名地产商

                     Robert V. Matthews
                     Matthews Ventures Holdings, LLC主席
                     过去25年他曾控股的著名企业                        他旗下的慈善项目




 闻名美国地产界的著名案例：
 1994年收购New Haven一幢30万平方尺的写字楼，一年时间将其出租率从18%提升至93%
 用50万美金收购New Haven乔治大街300号一幢56万平方尺的写字楼，两年后用55倍的价格出售

 Matthews Ventures Holdings目前在全美持有6亿美元的豪华公寓和酒店资产组合

 MVH 是HIG Acquisitions LLC主要控股股东,该私募基金致力于收购全球的5星级酒店资产
 以重新定位；
 Matthews Hospitality Group，一家致力于收购豪华物业以改善其经营的基金. Matthews
 刚完成其家族慈善基金Matthews family foundation 的募集。

                                         棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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1993年美国年度企业家 知名地产商




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开发商旗下的环球奢华酒店

Point Breeze on Nantucket Island




                                         棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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开发商旗下的环球奢华酒店

 Four Seasons French Polynesia, Bora Bora




                                          棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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开发商旗下的环球奢华酒店
Hyatt Regency Cartagena Hotel and Residences




                                         棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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开发商旗下的环球奢华酒店

 Cartagena Bodegon Boutique




                                         棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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开发商旗下的环球奢华酒店
Galapagos Eco-Luxury Resort Santa Cristobal Island




                                         棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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开发商旗下的环球奢华酒店
Casi Cielo Panama




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开发商旗下的环球奢华酒店
Delano Hotel Mars de Indias Cartagena/Greg Norman Golf-Delano Luxury
Resort-commence summer 2014 Mexico




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开发商旗下的环球奢华酒店
Marriott Courtyard Hotel (Chelsea, NY),the newest Courtyard in Manhattan
Just completed




                                           棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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建筑商 NHCS

 专业从事高档酒店及住宅市场
                          商业零售项目
                           Angles Restaurant at The Ritz Carlton
                           Nick’s New Haven Style Pizzeria and Bar
                           Sky Salon and Spa
                           Botega Guillianna Bar & Club
                           Ann Taylor
                           Bal Harbour Shops
高端住宅项目                     Quizno’s Subs
                           Starbucks
 Chapel Square Tower,     Cold Stone Creamery                     Nantucket Inn/Point Breeze Inn
 Strouse Adler,           CVS
 The Metropolitan,
 Granby Mills,
 55 Trumbell,
 Chapel Square Mall,
 27 Jackson Street,
 901 Main Street                   The Clarion,Hamden, Connecticut Ritz Carlton,Manalapan, Florida


                                             棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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HBA 全球最大的酒店设计事务所




     棕榈滩公馆由IngeMoore 2013年全球最佳酒店设计师设计


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HBA设计1200个以上五星级豪华酒店




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酒店总经理：Niklaus Leuenberger


   2011-2013 The ALpha Gstaad 董事总经理
   2010-2011 Resort Development Company COO
   2007-2009 The New York Palace 董事总经理
   2004-2007 半岛酒店北美副主席
   2003-2007 半岛酒店集团管理委员会执行委员
   1999-2003半岛酒店美国区域经理
   1992-2007纽约半岛酒店总经理
   1988-1992 马尼拉半岛酒店总经理
   1987-1988香港九龙酒店总经理
   1984-1987 广州花园酒店总经理
   1982-1984香港半岛酒店执行助理经理
   1981-1982 北京建国饭店副总经理
   1981香港马可波罗酒店筹备经理
   1980-1981马尼拉半岛酒店餐饮经理
                                                              30年超豪华酒店高层

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移民律师--Bernard Wolfsdorf
 连续4年全球排名第一移民律师

                                     全球最大的移民律师事务所

                                     Bernard Wolfsdorf 是美国移民律师协会前主席

                                     20年EB5移民律师从业经验

                                     连续4年评为全球最好的移民律师




    Bernard Wolfsdorf




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投资结构



 Source of Funds                             Amount                          Percentage

 EB-5(79位投资者)                                $39,500,000                             43.4%
 私募贷款                                        $29,500,000                             32.4%
 项目方出资                                       $22,000,000                             24.2%
 总投资额                                        $91,000,000                             100%




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投资结构

                                                     项目方，即南大西洋区域中心(SARC)




                                                    SARC与79位EB5投资者组成有限合伙人
                                                    (Palm House Hotel, LLLP)

                                                                              Lend money to

                                                      将以上79位EB5投资者募集的资金借
                                                      给棕榈滩公馆项目的持有者 (Palm
                                                      House, LLC)




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监管银行：PNC BANK


        投资明细

        本金                                          50万美金

        发行费                                         4万美金

        律师费                                         1.5万美金


        投资收益                                        每年0.25%借款利息

                                                    5年 （***如果还款延至第6年,
                                                    投资者可得额外8%利息赔偿；
        投资周期                                        如果还款延至第7年，可得额外
                                                    13%利息赔偿 ; 最迟第七年还款
                                                    给投资者–《PPM》)

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监管银行：PNC BANK




                      投资金额                           管理费                         律师费

 I526被拒                     全退                          全退                          全退




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退出机制

             退出机制（还款保证）：

             1）再融资 – 48%的负债比率，再融资非常便利

             2） 经营的盈利现金流 – 预估每年720万的利润

             3） 出售酒店 – 79个酒店房间可单独出售




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就业机会--绿卡保证


                           由EB5就业报告权威Michael Evans编写

                           施工已于2012年9月开始，主体工程已经结束

                          棕榈滩公馆的创造就业机会是953.7个，美国移民
                          局要求创造的790个就业机会多出20%。

    RIMS II 模型新增就业机会数据

    建筑                                        688.2          688.2


    酒店--运营                                    265.5          265.5

                                              总计             953.7


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投资者会额外获得 会所会籍50%折扣

会籍会员的福利包括：

 Hawker Jet 850 X P 私人飞机
 100’ Yacht 游艇
 Rolls Royce Ghost劳斯莱斯接送
 24小时管家服务，代客泊车
 传统欧洲spa,健身中心和游泳池
 收藏世界名酒的温控红酒窖
 雪茄巴和保温箱
 小时商务及会议中心

 投资奖励计划：
 投资期内每个投资者会免费获得：
 每年1周免费住宿
 以及提前预定的各项优惠


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估 值




                                                         79个单位的平均价值
                                                         $1,734,177

                                            整个项目第五年估值
                                            $137,500,000
                                            为EB5借款3.48倍
                                        棕榈滩公馆--奢华会所 棕榈滩岛上最后一座批准的酒店
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就业机会--绿卡保证

 评估报告①-By Callaway & Price, Inc                        评估报告②-By HVS




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棕榈滩酒店市场




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施工许可与产权文件




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GMAX 合同与完工保险--2014年底完工




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棕榈滩公馆—棕榈滩奢华酒店改造项目
棕榈滩岛上最后一座获准建设的酒店




 xiayan-0124
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           棕榈滩-美国的梦想之地


※ 彭博社评其为美国最富裕的地区
※ 美国四分之一的财富在这里流动
※ 富豪云集，27个10亿级富豪的住所
※ 美国富人居住和度假胜地，强大的奢华酒店需求




   xiayan-0125
                                    棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        奢华极致--棕榈滩全景




xiayan-0126
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          棕榈滩上共27位全球顶级富豪




xiayan-0127
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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             棕榈滩上共27位全球顶级富豪




$5200万 Howard Stern电台主播                    1236 Ocean Blvd              Donald Trump's Mansion $9500万
                                         $8150万 前高盛合伙人




                                                    150 South Ocean Blvd，$2600万
                                                    David Koch of Koch Industries
                                                    (美国第二大私人企业，2012年福布斯第17位富豪)




     xiayan-0128
                                      棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        棕榈滩公馆的位置—棕榈滩岛




xiayan-0129
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        棕榈滩公馆的位置—棕榈滩岛




xiayan-0130
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        棕榈滩公馆的位置--金融街中心




xiayan-0131
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          棕榈滩公馆 项目介绍




xiayan-0132
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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              棕榈滩公馆 项目介绍



l 总面积为128,000平方尺
l 一共79间奢华房间的酒店
l 直接建造在棕榈滩岛上
l 顶级富豪的私密会所
l 已动工一年半，施工在稳步进行
l 世界级富豪和名流的家
l 岛上最后一个被获准建设的酒店




    xiayan-0133
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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       奢华独特的设计--已完成80%工程量




xiayan-0134
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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       奢华独特的设计--已完成80%工程量




xiayan-0135
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        奢华独特的设计--已完成80%工程量




xiayan-0136
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        HBA 全球最大的酒店设计事务所




     棕榈滩公馆由IngeMoore 2013年全球最佳酒店设计师设计


xiayan-0137
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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       HBA设计1200个以上五星级豪华酒店




xiayan-0138
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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           酒店总经理：Niklaus Leuenberger


l 2011-2013 The ALpha Gstaad 董事总经理
l 2010-2011 Resort Development Company COO
l 2007-2009 The New York Palace 董事总经理
l 2004-2007 半岛酒店北美副主席
l 2003-2007 半岛酒店集团管理委员会执行委员
l 1999-2003半岛酒店美国区域经理
l 1992-2007纽约半岛酒店总经理
l 1988-1992 马尼拉半岛酒店总经理
l 1987-1988香港九龙酒店总经理
l 1984-1987 广州花园酒店总经理
l 1982-1984香港半岛酒店执行经理
l 1981-1982 北京建国饭店副总经理
l 1981香港马可波罗酒店筹备经理
l 1980-1981马尼拉半岛酒店餐饮经理
                                                             30年顶级酒店管理经验
    xiayan-0139
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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           投资者将额外获得 会所会籍50%折扣

会籍会员的福利包括：

l Hawker Jet 850 X P 私人飞机
l 100’ Yacht 游艇
l Rolls Royce Ghost劳斯莱斯接送
l 24小时管家服务，代客泊车
l 传统欧洲spa,健身中心和游泳池
l 收藏世界名酒的温控红酒窖
l 雪茄巴和保温箱
l 小时商务及会议中心

投资奖励计划：
投资期内每个投资者会免费获得：
每年1周免费住宿
以及提前预定的各项优惠

    xiayan-0140
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        开发商 Robert Matthews




xiayan-0141
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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         美国年度企业家 知名地产商

                       Robert V. Matthews
                       Matthews Ventures Holdings, LLC主席
                       过去25年他曾控股的著名企业                        他参与的慈善基金




闻名美国地产界的著名案例：
1994年收购New Haven一幢30万平方尺的写字楼，一年时间将其出租率从18%提升至93%
用50万美金收购New Haven乔治大街300号一幢56万平方尺的写字楼，两年后用55倍的价格出售

Matthews Ventures Holdings目前在全美持有6亿美元的豪华公寓和酒店资产组合

MVH 是HIG Acquisitions LLC主要控股股东,该私募基金致力于收购全球的5星级酒店资产
以重新定位；
Matthews Hospitality Group，一家致力于收购豪华物业以改善其经营的基金. Matthews
刚完成其家族慈善基金Matthews family foundation 的募集。
   xiayan-0142
                                    棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        美国年度企业家 知名地产商




xiayan-0143
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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           开发商开发的环球奢华酒店

Point Breeze on Nantucket Island




    xiayan-0144
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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            开发商开发的环球奢华酒店

Four Seasons French Polynesia, Bora Bora




    xiayan-0145
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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           开发商开发的环球奢华酒店

Hyatt Regency Cartagena Hotel and Residences




    xiayan-0146
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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            开发商开发的环球奢华酒店

Delano Hotel Mars de Indias Cartagena/Greg Norman Golf-Delano Luxury
Resort-commence summer 2014 Mexico




    xiayan-0147
                                     棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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               开发商开发的环球奢华酒店


Marriott Courtyard Hotel (Chelsea, NY),the newest Courtyard in Manhattan
Just completed




      xiayan-0148
                                       棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          区域中心和目标就业区




xiayan-0149
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        投资结构




xiayan-0150
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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               就业机会--绿卡保证


                                l 就业报告由EB-5权威专家Michael Evans编写

                                l 保守预计新增就业机会为移民局要求的120%

                                l 施工已于2012年9月开始，主体工程已经结束

                                l 24%的入住率，即可满足所有EB-5投资者解除I-829

投资明细                                           根据RIMS-II 模型预计新增就业机会数据

投资额                    50万美金                                                                         合计
发行费                    4万美金
                                               建筑                                            688.2   688.2
律师费                    1.5万美金

投资收益                   每年0.25%借款利息             酒店--运营                                        265.5   265.5

投资周期                   5年                                                                    总计      953.7

       xiayan-0151
                                        棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          就业机会--采用比可行性报告保守的数据计算就业




xiayan-0152
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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        棕榈滩酒店市场

                                                                    棕榈滩郡（含大陆）部分
                                                                    全年入住率最低月份54.3%




xiayan-0153
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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           棕榈滩酒店市场--岛上仅有的四家同级酒店历史50-80年




   xiayan-0124
平均房价$500-$2000/晚                    棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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           棕榈滩酒店市场—五星级酒店价格




   xiayan-0155
平均房价$500-$2000/晚                    棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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       施工许可与产权文件




xiayan-0156
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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       GMAX 合同---2014年底前完工




xiayan-0157
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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                建筑商 NHCS

专业从事豪华酒店及豪宅市场
                            商业零售项目
                            l Angles Restaurant at The Ritz Carlton
                            l Nick’s New Haven Style Pizzeria and Bar
                            l Sky Salon and Spa
                            l Botega Guillianna Bar & Club
                            l Ann Taylor
                            l Bal Harbour Shops
高端豪宅项目                      l Quizno’s Subs
                            l Starbucks
l Chapel Square Tower,      l Cold Stone Creamery                     Nantucket Inn/Point Breeze Inn
l Strouse Adler,            l CVS

l The Metropolitan,
l Granby Mills,
l 55 Trumbell,
l Chapel Square Mall,
l 27 Jackson Street,
l 901 Main Street                     The Clarion,Hamden, Connecticut Ritz Carlton,Manalapan, Florida

       xiayan-0158
                                        棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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         移民律师--Bernard Wolfsdorf

连续4年全球排名第一移民律师
                                    l 全球最大的移民律师事务所

                                    l Bernard Wolfsdorf 是美国移民律师协会前主席

                                    l 20年EB-5移民律师从业经验

                                    l 连续4年评为全球最好的移民律师




 Bernard Wolfsdorf




  xiayan-0159
                                   棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          酒店运营数据预测




                             经营稳定期年利润720万




xiayan-0160
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          监管银行：PNC BANK




                       投资金额                           管理费                         律师费

I526被拒                       全退                          全退                          全退



 xiayan-0161
                                  棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          酒店估值




                                                           权威机构估值
                                                           项目第五年价值
                                                           $137,500,000
                                                           为EB5借款的3.48倍


                                            79个单位的平均价值:
                                            $1,734,177
xiayan-0162
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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                还款保证




还款资金来源：

l 48%的负债比率，再融资非常便利

l 每年720万的利润

l 会所会籍的销售

  xiayan-0163
                                   棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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          投资概要


l 投资款50万美金，管理费4万美金，律师费1.5万美金

l 每年投资回报0.25%,投资期5年




xiayan-0164
                                 棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
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             项目总结

※ 项目首批客户已获得I-526正式批准，审批速度大大加快

※ 美国最富裕的地区，美国四分之一的财富在这里流动，27个10亿级富豪的住所

※ 棕榈滩岛上最后一座获准建设的酒店

※ 美国富人居住和度假胜地，强大的奢华酒店需求

※ 开发商实力雄厚，开发的酒店遍布全球

※ 酒店由全球最佳酒店设计师设计，奢华独特的设计势必吸引全球富豪到此度假

※ 项目已于2012年9月动工并已完成80%，且购买完工保险，无须担心项目不能完工

※ 全球第一移民律师严控把关，确保移民之路安全无忧

※ EB-5权威专家Michael Evans根据RIMS-Ⅱ计算新增就业机会为移民要求的120%

※ 48%的负债比率，再融资非常便利；酒店估值为EB-5资金的3.48倍，保障还款
   xiayan-0165
                                    棕榈滩公馆--棕榈滩奢华酒店改造项目 棕榈滩岛上最后一座获准建设的酒店
